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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEWYORK


PEOPLE OF THE STATE OF NEWYORK, by
                                                             Case No. 1:21-cv-1417 (JSR)
LETITIA JAMES, Attorney General ofthe State
ofNewYork,

         Plaintiff,
                                                             AFFIDAVIT OF JASON C.
                                                             SCHWARTZ IN SUPPORT OF
                 - against -
                                                             MOTION TO ADMIT
AMAZON.COM INC., AMAZON.COM SALES,                           COUNSEL PRO HAC VICE
INC., and AMAZON.COM SERVICES LLC,

         Defendant.


I, Jason C. Schwartz, declare under penalty ofperjury as follows:

         1.      I am a partner with the law firm Gibson, Dunn & Crutcher LLP.

         2.      I submit this affidavit in support of my motion for admission to practice pro hac

vice in the above-captioned matter.

         3.      As shown in the Certificates of Good Standing attached as Exhibit A, I am a

member in good standing of the Bars of the Commonwealth of Virginia (SB No. 43635), the

District ofColumbia (SB No. 465837), and the State ofMaryland (SB No. 1006080003).

         4.      There are no pending disciplinary proceedings against me in any state or federal

court.

         5.      I have not been convicted ofa felony.

         6.      I have not been censured, suspended, disbarred, or denied admission or readmission

by any court.

         7.      I respectfully request that I be permitted to appear as counsel and advocate pro hac

vice in this case for Defendants Amazon.com, Inc., Amazon.com Sales, Inc., and Amazon.com

Services LLC.
          Case 1:21-cv-01417-JSR Document 12-1 Filed 02/23/21 Page 2 of 2




Dated: February 23, 2021                 Respectfully submitted,
                                            JCL6on       t. 5c.,Aw0--rf2.
                                          Jason C. Schwartz
                                          GIBSON, DUNN & CRUTCHER LLP
                                          1050 Connecticut Avenue, N.W.
                                          Washington, D.C. 20036
                                          (202) 955-8500
                                         j schwartz@gibsondunn.com

State of Virginia
City of Hampton


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Sworn to before me this   23rd

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day of February, 2021                                                   .
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Commission Expires 05/31/2024                  :     �          REG # 7870056

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